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 8
                                IN THE UNITED STATES DISTRICT COURT
 9                                  FOR THE DISTRICT OF ARIZONA
10
     United States of America,                      NO. CR-18-00422-PHX-SMB
11

12                            Plaintiff,            [PROPOSED] ORDER
     vs.
13
     Michael Lacey, et al.,
14

15                       Defendants.

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20
             Upon Motion of the Defendant, with good cause appearing and with no objection
21
     from the Government,
22
             IT IS ORDERED granting Defendant’s request that the Court recess trial from
23
     September 6, 2023 through September 8, 2023.
24
             SO ORDERED this _______ day of ___________, 2023.
25
                                                     ___________________________
26
                                                     United States District Judge
27

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